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          IN THE UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF ARKANSAS
                   CENTRAL DIVISION

DAKOTA BATTLES,
ADC #2026123                                                PLAINTIFF

v.                      No: 4:21-cv-742-DPM

RON BROWN, Chief Sheriff,
Crawford County Detention Center                         DEFENDANT

                            JUDGMENT

     Battles’s complaint is dismissed without prejudice.



                                      ________________________
                                      D.P. Marshall Jr.
                                      United States District Judge

                                      29 September 2021
